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                                         United States District Court
                                             District of Puerto Rico
                                    Exhibits Log: 21-cr-082-04 & 06 (ADC)
                                   USA V. Alejandro Riera-Fernandez, et al,
                                            10/31/2022 - 11/9/2022

EXHIBIT   DESCRIPTION                                                           RLS   IDENTIFIED ADMITTED
Gov-1     English-MEDI Board Resolution Sept 2014 Advisor EGJ.pdf               Yes   11/1/2022   11/1/2022
                                                                                      10:15 AM    10:15 AM

Gov-2     English - MEDI UnionBanc Corp Account Sec Cash Accounts 4-18-16.pdf   Yes   11/1/2022   11/1/2022
                                                                                      10:22 AM    10:22 AM

Gov-3     English - MEDI UnionBanc Corp Account Sec Cash Accounts 3-9-16.pdf    Yes   11/1/2022   11/1/2022
                                                                                      10:23 AM    10:23 AM

Gov-4     Debit Advice and Wire Transfer Requested dated 03-29-2016.pdf         Yes   11/1/2022   11/1/2022
                                                                                      12:55 PM    12:55 PM

Gov-5     BPPR Account 206-422646 EGA (1).pdf                                   Yes   11/2/2022   11/2/2022
                                                                                      3:08 PM     3:08 PM

Gov-5-T   BPPR Account 206-422646 EGA (1).pdf (Translation)                     Yes   11/2/2022   11/2/2022
                                                                                      3:10 PM     3:10 PM

Gov-6     BPPR Account 206-422496 EGA (2).pdf                                   Yes   11/2/2022   11/2/2022
                                                                                      2:54 PM     2:54 PM

Gov-6-T   BPPR Account 206-422496 EGA (2).pdf (Translation)                     Yes   11/2/2022   11/2/2022
                                                                                      2:57 PM     2:57 PM

Gov-7     BPPR 206-428917 MAG.pdf                                               Yes   11/2/2022   11/2/2022
                                                                                      3:23 PM     3:23 PM

Gov-7-T   BPPR 206-428917 MAG.pdf (Translation)                                 Yes   11/2/2022   11/2/2022
                                                                                      3:23 PM     3:23 PM

Gov-8     BPPR 206-447228 Premier.pdf                                           Yes   11/2/2022   11/2/2022
                                                                                      3:30 PM     3:30 PM

Gov-8-T   BPPR 206-447228 Premier.pdf (Translation)                             Yes   11/2/2022   11/2/2022
                                                                                      3:30 PM     3:30 PM

Gov-9     May 2 2016 - 10:08am M Forgea to J Chung.pdf                          Yes   11/2/2022   11/2/2022
                                                                                      10:28 AM    10:28 AM

Gov-10    Letter May 2 2016 Closure Account UBIS.pdf                            Yes   11/2/2022   11/2/2022
                                                                                      12:00 AM    12:00 AM

Gov-11    May 2 2016 J Chung cc Stacy Smith Ace Clo.pdf                         Yes   11/2/2022   11/2/2022
                                                                                      12:00 AM    12:00 AM

Gov-12    May 3 2016 Letter Clos Sent Email.pdf                                 Yes   11/2/2022   11/2/2022
                                                                                      12:00 AM    12:00 AM

Gov-13    Outgoing WTrans Req 1 to 3735 April 11 2016.pdf                       Yes   11/2/2022   11/2/2022
                                                                                      11:38 AM    11:38 AM

Gov-14    Outgoing WTrans Req 1.pdf                                             Yes   11/2/2022   11/2/2022
                                                                                      11:38 AM    11:38 AM

Gov-15    Outgoing WTrans Req 1-5 3735 April 20 2016.pdf                        Yes   11/2/2022   11/2/2022
                                                                                      11:38 AM    11:38 AM

Gov-16    Outgoing WTrans Req 250 & 450 April 1 2016.pdf                        Yes   11/2/2022   11/2/2022
                                                                                      11:38 AM    11:38 AM

Gov-17    Outgoing WTrans Req 900 April 12 2016.pdf                             Yes   11/2/2022   11/2/2022
                                                                                      11:38 AM    11:38 AM

Gov-18    Trans Conf 1 to 3735 April 12 2016.pdf                                Yes   11/2/2022   11/2/2022
                                                                                      11:38 AM    11:38 AM

Gov-19    Trans Cont 1-5 to 3735 April 20 2016.pdf                              Yes   11/2/2022   11/2/2022
                                                                                      11:38 AM    11:38 AM

Gov-20    Trans Conf 250 to 6920 April 1 2016.pdf                               Yes   11/2/2022   11/2/2022
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Gov-21    Trans Conf 450 to 8221 April 1 2016.pdf                               Yes   11/2/2022   11/2/2022
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